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   7   Attorneys for Defendant and Cross-Claimant
       TOUCHOFMODERN, INC.
   8   dba TOUCH OF MODERN

                              UNITED STATES DISTRICT COURT
  10
                            CENTRAL DISTRICT OF CALIFORNIA

       EDDIE COLLA,                                 Case No. CV 16-5686-GW(KSx)
  12
                            Plaintiff,              Hon. George W. Wu
  13
                                                    Courtroom: 9D
  14          V.
                                                        JUDGMENT RE:
       ToUcHOFMODERN,INC., dba TOUCH
  15
       OF MODERN, and DOES 1-10,                        T     OFMODE RN, INC '
                                                            OUCH

       inclusive,                                       APPLICATION FOR DEFAULT
                                                        JUDGMENT BY COURT
  17
                            Defendant
  18

       ToUcHOFMoDERN,INC.,          dba TOUCH
  20   OF MODERN

  21                  Cross-Claimant,
  22          V.

       PINGO WORLD, and ROES 1-10,
  24   inclusive,

  25                  Cross-Defendants.
  26

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                                                    1

                          [PRoPosEDl JUDGMENT RE: ToUcHoFMQDERN, INc's
                           APPLICATION FOR DEFAULT JUDGMENT BY COURT
                                                            CAsE No. CV-2:16-05686-GW (Ksx)
    Case: 1:18-cv-00546 Document #: 1 Filed: 01/24/18 Page 3 of 5 PageID #:3
Case ,'i:16-cv-05686-GW-KS Document 51 Filed 06/29/17 Page 2 of 3 Page ID 0:300




      1         Cross-Claimant,     TOUCHOFMODERN,        Inc. dba Touch of Modern's        ("Cross-
          Claimant" or "TOUCHOFMODERN") Application for Default Judgment by the
          Court under Federal Rule      of Civil Procedure 55(b)(2) against Cross-Defendant
      4   Pingo World came on regularly for hearing on June 22, 2017, before the above-
          entitled Court in Courtroom 9D, the Honorable George Wu, Judge Presiding.
          Michaela L. Sozio, Esq., appearing for moving party, Cross-Claimant
          TOUCHOFMODERN.          Eric Bjorgum, Esq. appeared for Plaintiff Eddie Colla. No
          appearance was made by Cross-Defendant          Pingo World.
   9            The Court, having considered all      of the   papers and supporting     evidence
          submitted by Cross-Claimant       for its Application for Default Judgment and the
          argument   of counsel   at the hearing, hereby GRANTS Cross-Claimant's
          Application for Default Judgment.
  13            THEREFORE, IT IS HEREBY ORDERED AND ADJUDGED THAT:
  14            1.  Judgment is entered in favor of Cross-Claimant TOUCHOFMODERN
  15                   against Cross-Defendant      Pingo World on the First Cause        of Action
 16                    for contractual indemnification;
 17             2.     A monetary award is entered against Pingo World and in favor             of
 18                    Cross-Claimant     TOUCHOFMODERN           in the total amount   of $28,167.42,
 19                    which breaks down as follows:
 20                       a. $ 19,500.00 for indemnification;
 21                       b. $ 5,140.92 in attorney's fees and costs associated with the
 22                           defense   of the Copyright Litigation;     and
 23                       c. $3,526.50 in attorney's fees      and costs associated with the
 24                           prosecution    of the cross-claim    against Pingo World.
 25                    Judgment is entered in favor     of Cross-Claimant      TOUCHOFMODERN
 26                    against Cross-Defendant     Pingo World on the Fourth Cause         of Action
 27                    for declaratory relief that Pingo World is required to indemnify,
 28                    defend and hold TOUCHOFMODERN harmless from judgments                  and/or
                                                 2
                           1PROPOSED] JUDGMENT RE: TOUCHOFMODERN, INC'S
                            APPLICATION FOR DEFAULT JUDGMENT BY COURT
                                                             Case. No. CV-2:16-05686-GW (KSx)
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                          liability arising from the acts or omissions     of Pingo World   with

                         respect to the accused products at issue in this litigation.


   4   Dated: June 29, 2017
                                                          GEORGE W. WU, U.S. District Judge



       LA   ¹159196v.4 (1624-57)




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                                                   FOR DEFAULT JUDGMENT BY COURT
                                                                        CAsE No. CV-2:16-05686-GW (Ksx)
Case: 1:18-cv-00546 Document #: 1 Filed: 01/24/18 Page 5 of 5 PageID #:5




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